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                                    OFFICE OF THE FEDERAL DEFENDER
                                      EASTERN DISTRICT OF CALIFORNIA
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                                       SACRAMENTO, CALIFORNIA 95814
Daniel J. Broderick                          (916) 498-5700 Fax: (916) 498-5710                       Linda C. Harter
Federal Defender                                                                             Chief Assistant Defender



                                           MEMORANDUM


     DATE:                December 8, 2009

     TO:                  Colleen Lydon, Courtroom Clerk to the
                          Honorable Edward J. Garcia

     FROM:                Matthew C. Bockmon, Assistant Federal Defender

     SUBJECT:             United States v. Ivan Quintero Jimenez
                          Cr.S. 08-420 EJG


           This Memorandum is to confirm counsel’s request to continue Judgment and Sentencing
     presently scheduled for December 11, 2009, to Friday, January 29, 2010, at 10:00 a.m.

            All parties, including the courtroom clerk, have been notified and are in agreement to
     this continuance.


     IT IS SO ORDERED.

     Dated: December 8, 2009



                                                              /s/ Edward J. Garcia
                                                              EDWARD J. GARCIA
                                                              United States District Judge

     /vo



     cc:       Brenda Barron-Harrell, USPO
               client
